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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 COMMONWEALTH OF                                           CIVIL ACTION
 PENNSYLVANIA AND STATE OF NEW
 JERSEY,

                       Plaintiffs,
                                                           NO. 17-4540
               v.

 DONALD J. TRUMP, et al.,

                       Defendants,

 LITTLE SISTERS OF THE POOR
 SAINTS PETER AND PAUL HOME,

                       Defendant-Intervenor.

                            AMENDED SCHEDULING ORDER

       AND NOW, this 24th day of February, 2025, upon consideration of the Unopposed
Letter Requesting an Extension of Deadlines (ECF No. 336), IT IS HEREBY ORDERED as
follows:
             1. Plaintiffs shall have until March 11, 2025 to file their Motion for Summary
    Judgment, which shall not exceed 45 pages.
             2. Federal Defendants and Intervenor Defendants shall have until April 18, 2025 to
    file their respective combined Cross-Motions for Summary Judgment and Responses to
    Plaintiff’s Motion. Neither combined brief shall exceed 45 pages.
             3. Plaintiffs shall have until May 19, 2025 to file a combined Response to
    Defendants’ Cross-Motions and Reply in support of their Motion, which shall not exceed 30
    pages.
             4. Federal Defendants and Intervenor Defendants shall have until July 3, 2025 to
    file their respective Replies in Support of their Cross-Motions. Neither Reply shall exceed
    20 pages.


                                                   BY THE COURT:


                                                   S / WENDY BEETLESTONE

                                                   WENDY BEETLESTONE, J.
